Case: 1:16-cv-00465-TSB Doc #: 251 Filed: 11/25/19 Page: 1 of 1 PAGEID #: 18433

AO 450 (Rev. 11/11) Judgment ina Civil Action

 

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

MARIE JOSEPH

 

Plaintiff
Vv,
RONALD JOSEPH

Civil Action No, 1:16CV465

 

Defendant

JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

 

 

 

(the plaintiff (name) recover from the

defendant (name) the amount of
dollars ($ ), which includes prejudgment

interest at the rate of %, plus post judgment interest at the rate of % per annum, along with costs.

© the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)

 

 

 

ot other: Jury returned verdict for Defendant on Count 1. Court orders that Count 3 of the complaint is dismissed with
prejudice. Both Motions for judgment as a matter of law are DENIED. (Doc. 215) Defendant's motion for
summary judgment is GRANTED. Plaintiffs access to corporate records is DISMISSED.

This action was (check one):

tried by a jury with Judge Timothy S. Black presiding, and the jury has
rendered a verdict.

 

O tried by Judge without a jury and the above decision
was reached.

 

ot decided by Judge Timothy S. Black on a motion for

Summary Judgment on Plaintiffs access to Corporate Records Claim.

 

Date: CLERK p COURT

 

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